Case 3:01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 1 of 17

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF CONNECTICU'I£.
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Janice C. Amara, 39 Town Beach Rd., fmbmi WM,, D.M?,

    

 

Old Saybrook, CT 06475, Gisela R. 'sz:e‘~ stat cs '
Broderick, 143 old Post Road, Tonand, "’.'"°'
CT 06084, individually and on behalf `. : 1 ‘
of others similarly situated, """“"§; “ ‘t. U;§§m4449
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Piaimiffs, 4 ; ‘ » . ' :.-. - »'---~

v. : Civil No 3: 01 -CV 236M<¢§\,`.,`,_ ,~._

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Cigna Corp. and Cigna Pension Plan, : May 6, 2005 , 4444;'-4-4. 4‘44444: 4444~ `- 4 444 4EN

 

Def`endants.

    

 

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SECOND AMENDED CLASS ACTION COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF UNDER ERISA

Nature of the Complaint

l. This Complaint is about the retirement benefits that Ms. Amara, Gisela
Broderick, and similarly-situated Cigna employees are required to receive under the
Ernpioyee Retircment Incorne Security Act of 1974 (“ERISA”), as amended, 29 U.S.C.
§1001, et seq. Ef`fective January l, 1998, Defendants reduced future rates of retirement
benefit accruals and impermissibly conditioned receipt of those accruals so that actual
benefit receipt may be illusory f`or as many as 10 years. This violates ERISA’s disclosure
requirements and its requirement that the payment of vested retirement benefits must be
unconditional. Employees also lost benefits earned before 1998 that are to be Statutorily-

protected and have been subject to still lower rates of benefit as they grow older.

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Case 3:01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 2 of 17

Jurisdiction, Venue, and Service of Process

2. Plaintiffs invoke the jurisdiction of this Court pursuant to the Employee
Retirement Income Security Act of 1974, as amended, 29 U.S.C. §1001, et seq.

3. Venue in this Court is proper under ERISA Section 502(e)(2), 29 U.S.C.
§ll32(e)(2), in that Defendants Cigna Corp. and Cigna Pension Plan may be found in this
District and the breach took place in this District.

4. Service of process is authorized in any other district Where a defendant
resides or may be found ERISA Section 502(e)(2), 29 U.S.C. §1132(6)(2).

The Parties

5. Plaintiff Janice C. Amara resides at 39 Town Beach Rd., Old Saybrook, CT
06475. She worked for Cigna for 28 years until October 2003. Ms. Amara is a participant
in the Cigna Pension Plan as the term participant is defined in ERISA Section 3(7), 29
U.S.C. §]002(7).

6. Plaintiff Gisela R. Broderick resides at 143 Old Post Road, Tolland, CT
06084. She Worked for Cigna for 21 years until March 2004. Ms. Broderick is a
participant in the Cigna Pension Plan, too.

7. Defendant Cigna Pension Plan is an employee benefit plan as defined in
Secticn 3(3) of`ERISA, 29 U.S.C. §1002(3), and an “employee pension benefit plan” as
defined in Section 3(2)(A), 29 U.S.C. §1002(2)(A). 'I`he Cigna Pension Plan can be found

in Connecticut because Cigna employees earn and receive benefits in Connecticut.

 

 

 

Case 3:01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 3 of 17

8. Defendant Cigna Corp. is a business corporation organized and existing
under the laws ofthe State of Delaware, and operating in all 50 states, including
Connecticut. Cigna is qualified to do business and does business in Connecticut.

9. Defendant Cigna Corp. functions as the “plan sponsor” and “plan
administrator” for the Cigna Pension Plan within the meaning of ERISA. Through a
Corporate Benefit Plan Committee, Defendant Cigna Corp. also functions as a “named
fiduciary” for the Cigna Pension Plan within the meaning of ERISA.

Class Action Allegations

10. Plaintit`fs bring this action as a class action in accordance with cheral Rule
of Civil Procedure 23 to resolve disputes under the Employee Retirement Income Security
Act of 1974. J udicial economy dictates that the issues be resolved in a single action.

ll. The class is defined as any and all persons Who:

(a) Are former or current Cigna employees,
(b) Participated in the Cigna Pension Plan before January l, 1998, and

(c) Have participated in the “Part B” Cigna Pension Plan at any time since
January l. 1998.

12. The class covers all participants in the Cigna Pension Plan whose benefit
accruals have been reduced and whose receipt of benefit accruals under the pre-1998 Part
B plan has been unlawfully conditioned in violation of ERJSA Section 203 (a), 29 U.S.C.
§1053(a).

13. On information and belief the class covers over 24,000 individuals The

 

 

 

Case 3:01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 4 of 17

class is so numerous that joinder of all members is impracticable

14. There are common questions of law and fact affecting the rights of the
members of the class. The claims of the named class representatives are typical of the
claims of the class. The named representatives will fairly and adequately protect the
interests of the class.

15. This action is maintainable as a class action under Rule 23(b)(2) because
Defendant has acted and/or refused to act on grounds generally applicable to the class,
thereby making appropriate injunctive and other equitable relief in favor of the class.
Statement of Facts

4 16. Janice Amara was born on April 3, 1950. She worked for Cigna from July
17, 1972 to August 10, 1995 and from September 8, 1998 to October 17, 2003. Ms.
Amara managed Cigna’s pension compliance area from 1992 to 1995. She returned to
CIGNA in 1998 as a director of national accounts for Cigna’s Retirement & Investment
Services division. At her separation she was the NASD principal for the client services
organization of Cigna’s Retirement & Investment Services, as well as a client executive
in charge of accounts.

17. Gisela Broderick was born on March 12, 1944; She worked for Cigna from
August 4, 1980 to December 31, 1997 and from June 26, 2000 to March 12, 2004. Ms.
Broderick was a project manager in the Inforrnation Technologies Deparment of Cigna

Systems.

 

 

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Case 3:01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 5 of 17

18. Effective January 1, 1998, Cigna converted to a “cash balance” pension
plan (which Cigna calls “Part B”). Cigna adopted the cash balance pension plan to replace
Cigna’s traditional defined benefit pension plan.

19. Employees who were hired before 1989 and had a specified combination of`
age and service in excess of 45 points were grand-fathered under the prior, more generous
pension plan formula (now called “Part A”).

20. Since Ms. Amara returned to Cigna in September 41998, Cigna has placed
her under its “Part B” cash balance formula Ms. Broderick was also placed in Cigna’s
Part B plan after she returned to Cigna in June 2000. Although both were hired before
1989 and had a combination of age and service in excess of 45 points (thereby qualifying
them to be “grand-fathered”), Cigna moved them to the Part B cash balance formula
under an amended “rehire” rule that Cigna’s CEO adopted on December 21, 1998.

21. Under the previous benefit forrnula, pension benefits were 2% of a highest
average of salary times years of service. Under the Part B cash balance pension formula,
benefits accrue at a lower rate and have been subjected to additional conditions that did
not apply under the previous formula

22. Discovery shows that Cigna knew that the rate of benefit accruals under the
prior formula was “much higher” than under the cash balance plan. Because the cash
balance formula is based on each year’s pay Whereas the prior formula is based on a

highest average of pay, benefits are significantly reduced from that change alone. A

 

 

 

 

Case 3:01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 6 of 17

spreadsheet prepared by a Cigna actuary further shows that the cash balance accrual rates
decline from 1.73% of each year’s pay at age 43 down to .66% by age 65. Comparisons
performed by the William Mercer Company indicated that most employees’ benefits
would be reduced by 20% or more.

23. On December 14, 1995, Cigna notified Ms. Amara that her accrued benefits
were $2,010.41 per month in the form of an annuity lasting from age 55 to 65, with
payments reduced to $1,565.48 per month after age 65.

24. Over 5 years later, on February 23, 2001, Cigna notified Ms. Amara that her
accrued benefits under Part B were $l,340.28 per month in the form of an age 55 annuity.
Instead of increasing the retirement benefits, Cigna had decreased her benefits by
$670.13 per month between age 55 and 65 and by $225.20 per month after age 65.

25. Ms. Amara complained that a decrease in her retirement benefits did not
comply with ERISA Section 204(g), 29.U.S.C. §1054(g), which prohibits decreases in
accrued benefits as a result of plan amendments See also 26 C.F.R. 1.411(d)-4. In an e-
mail dated April 20, 2001, Andrew Hodges, a consulting actuary for Cigna, stated that
there had been a “f`|aw” in the “conversion record.”

26. Discovery revealed that the “flaw” in Ms. Amara’s record was actually a
systemwide hole. Cigna’s administrative systems were not set up to notify participants
under the age of 55 that they retained rights to protected annuity benefits under Part A,

including to early retirement subsidies and a “free 30%”j0int and survivor benefit.

 

 

 

Case 3:01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 7 of 17

27. Discovery further revealed that the opening cash balance accounts did not
include either the valuable early retirement subsidies or the free 30% joint and survivor
benefit, both of which were provided under the prior benefit formula and are protected
under ERISA Section 204(g) against elimination by plan amendment The free 30% joint
and survivor benefit was also not included with the “minimum benefits” that Cigna
protected

28. Certain reductions that Cigna applied in establishing the opening account
balances under cash balance were neither disclosed nor contained in the Plan document at
the time when they were applied. The “pre-retirement mortality discount” that Cigna
applied in computing opening cash balance accounts was not described in the SPD or in
the Plan document in effect at the time. Likewise, the elimination of the “free 30%”
survivor’s annuity is not described in the October 1998 SPD or in the Plan document

29. Because Ms. Amara complained about the benefits estimate showing
decreased benefits, a benefits specialist for Cigna mailed her another Benefit Sumrnary
Sheet on July 6, 2001, this time showing a benefit at age 55 of$1,833.65 per month. lt is
Ms. Amara’s understanding that this monthly amount is to represent the actuarial
equivalent of the benefit which Ms. Amara was already entitled to receive in December
1995 of $2,010 per month from age 55 to 65 and $1,565 per month thereafter.

30. If this were to constitute her total current benefits, Ms. Amara’s

employment with Cigna from September 1998 to October 2003 would not have added

 

 

 

 

Case 3'01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 8 of 17

even $1.00 to the retirement benefits she already possessed at the end of 1995 .

31. Cigna’s “Part B” Plan document provides annual pay credits and interest _
that should be adding to Ms. Amara’s current benefit total. Beginning at the end of 1998,
Ms. Amara was credited with annual pay credits of 7% of her salary up to one-half of the
social security wage base plus 8.5% of her salary above that level. Interest is to
accumulate on these annual pay credits at rates of 4.5% and above

32. Cigna should have allocated over $7,500 annually in pay credits to Ms.
Amara’s account from 1998 to the end of 2003. After the termination of her employment,
Ms. Amara should receive the annual pay credits, with interest in annuity or lump sum
fonn. However, when Ms. Amara requested a benefits estimate after her separation from
service at the end of 2003, those sums were not included She was instead offered even
lower benefits than the first time of $915.65 per month. After she complained again, she
was offered the $1,833 per month annuity that she had already earned before 1998, with -
no addition whatever to reflect the over $30,000 in pay credits that Cigna was to have
allocated to her cash balance “account” between 1998 and the end of 2003.

33. Ms. Broderick likewise should have been allocated over $30,000 in pay
credits for her employment from June 2000 to March 2004. However, when she
commenced benefits in December 2004, those sums were not included Her benefits had
not increased from their pre-1998 level. And Cigna had dropped the free 30% joint and

survivor annuity that was to be protected under ERISA Section 204(g).

 

 

` of 17
Case 3'01-cv-02361-.]BA Document 156 Fl|ed 06/21/05 PageQ

Claim One: Conditioning Receipt of Benefit Accruals which Are Necessary to
Satisfy ERISA’s Anti-Backloading Rules Violates the Anti-Backloading
Rules and the Nonforfeitability Standard.

35. Cigna’s Part B Plan document offers the annual pay credits and interest

B Plan document provides that Ms. Amara can receive the annual accrued benefits she
has earned since 1998 ifand only if she does not receive the $l,833 per month in early
retirement benefits that she previously earned under the Part A Plan. The same applies to
Ms. Broderick and others.

36. Section 7.3 of the Cigna Plan document makes it impossible for Ms.
Broderick or Ms. Amara to receive their protected early retirement benefits under Part A
(i.e., the benefits that they earned before 1998) plus their annual accruals since 1998
under Part B. To receive their annual accruals since 1998, they must accept a valuation of
their Part A benefits specified in Section 1.28 of the Plan document (“lnitial Retirement
Account”). The valuation specified in Section 1.28 excludes the value of “protected”
early retirement rights under Part A and the value of the free 30% joint and survivor
benefits Cigna has furthermore interpreted Section 1.28 to permit a pre-retirement

mortality discount to be assessed in that valuation which was never used before.

 

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37. To satisfy the “anti-backloading” rules in ERISA Section 204(b)(1)(B), 29
U.S.C. §1054(b)(1)(B), Cigna must offer participants annual rates of benefit accrual for
each plan year. See also 26 C.F.R. 1.41 1(b)-2(i)(B); Esden v. Bank of Boston, 229 F.3d
154, 167 (2d Cir. 2000) (the “only test that the [Bank of Boston’s cash balance] plan
might satisfy is the so-called 133 1/3 percent test under ERISA section 204(b)(1)(B)”;
“that test requires that the value of the benefit accrued in any year . . . not exceed the
value of a benefit accrued in any previous year by more than 33%”).

38. If the accrued benefits for 1998, 1999, etc. are to count for compliance with

39. However. Sections 1.28 and 7.3 of Cigna’s plan document place conditions

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subsequent event, subsequent performance, or subsequent forbearance which will cause
loss of such right is a forfeitable right at that time.” 26 C.F.R. 1.41 l(a)-4.

41. IRS Notice 96-8, 1996-1 C.B. 359, explains:

42. Cigna has made receipt of annual pension accruals after January l, 1998

Claim Two: ERISA Requires that Benelit Reductions, Conditions on Receipt of
Additional Accruals, and Other Disadvantages Be Disclosed in the
Surnmary Plan Description.
43. Under ERlSA, Surnmary Plan Descriptions (SPDs) must be distributed to

participants which disclose the circumstances that may result in reductions,

 

 

Case 3'01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 12 of 17

Reductions, restrictions and other disadvantages must be described no less prominently or

understandably than the advantages of the plan. 29 C.F.R. 2520.102-2(b).

44. The SPDs that Cigna distributed to participants in October 1998 and

September 1999 do not describe any benefit reductions, conditions on receipt or other
disadvantages of the new cash balance pension accruals. For example, the SPD’s
description of the annual pay credits does not describe any conditions on their receipt. It

states:

Each dollar’s worth of credit is a dollar of retirement benefits payable to
you after you are vested. Under the plan, your benefit will grow steadily
throughout your career as credits are added to your account

The same description was offered in a revised SPD dated September 1999. The benefit
reductions and the conditional payment rule which Cigna’s CEO approved on December

21, 1998 were not disclosed to participants in the SPD dated October 1998, the revised

SPD dated September 1999, or any SPD distributed after that date.
45. In the absence of the statutorily-required disclosure, a rule that causes
benefits to be lost or forfeited may not be enforced Heidgerd v, Olin Corp., 906 F.2d 903

(2d Cir. 1990); Burke v. Kodak Rer. Inc. Plan, 336 F.3d 103, 111 (2d Cir. 2003).
Claim Three: The Rate of Benefit Accruals After 1998 Is Reduced Because of Age.
46. ERISA Section 204(b)(1)(H)(i), 29 U.S.C. §1054(b)(1)(H)(i), prohibits an

employer from establishing or maintaining plan rules that reduce “the rate of an

employee’s benefit accrual . . . because of the attainment of any age.” Under a defined

12

 

 

 

Case 3:01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 13 of 17

benefit plan, an employee’s benefit accrual is expressed in the form of an annuity at
retirement

47. Benefit accruals under a cash balance pension plan are a function of two
components: Pay credits and interest credits Due to the effect of compound interest until
retirement, interest credits under a cash balance plan are more substantial for younger
participants Unless pay credits progressively counter-balance the interest credits, the rate
of an employee’s benefit accrual will be reduced because of age.

48. Cigna’s cash balance formula increases its pay credits by l% at 10-point
age and service intervals until the participant accumulates 65 points, e.g., age 45 with 20
years of service or age 50 with 15 years of service. After that point, the pay credit is fixed
at a flat percentage ofpay.

49. As a result, once a participant has more than 65 points, the rate of benefit
accrual drops based on age. ln addition to suffering from the conditions on actual receipt
described in the First Claim, Janice Amara’s rate of cash balance benefit accrual
decreases from almost 1.6% of pay at age 48 (her age when she was rehired) to 1.3% at
age 53. Ms. Broderick’s rate of cash balance accrual dropped from 1.1% of pay when she
was rehired at age 56 to .9% of pay when she left Cigna in March 2004 at age 60. By
comparison, the rate of accrual for a younger, age 35 employee making the same salary as
Ms. Broderick or Ms. Amara would be over 2% of pay.

50. As codified by Section 204(b)(1)(H)(i), ERlSA’s policy is that an

13

 

 

` f 17
Case 3'01-cv-02361-.]BA Document 156 Fl|ed 06/21/05 Page 14 o

employee’s rate of benefit accrual should not be reduced because of age but should
remain as great as the rate for a younger employee with the same salary.

Claim Four: Cigna Did Not Give Participants Timely or Adequate Advance Notice
of Benefit Reductions as Required by ERISA Section 204(h).

51. Cigna has never notified Plan participants of significant reductions in the
rate of future accruals under the Part B cash balance formula A November 1997
newsletter with an inset by the CEO counter-factually states that the changes
“significantly enhance” the retirement program.

52. In a Rule 30(b)(6) deposition, Cigna identified an article in this newsletter
as Cigna’s ERISA Section 204(h) notice, but the Rule 30(b)(6) witness admitted that the
article does no_t disclose any reductions in the rate of accruals under the Part B formula.
The October 1998 SPD and the September 1999 revision of the SPD likewise contain no
description of reductions in the rate of accruals

53. By converting to a cash balance pension formula With reduced benefits

without providing notice to participants of a significant reduction in the future rate of

54. As indicated in 1120, Cigna’s CEO also amended a “rehire” rule on

December 21, 1998 to require rehired employees like Ms. Broderick and Ms. Amara to

14

 

 

 

Case 3'01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 15 of 17

participate in the Part B plan instead of resuming participation under the “rnuch higher”
Part A formula. However, Cigna did not notify the rehired employees of the amended rule
before they accepted offers of re-employment. Nor did Cigna notify them that
participation in the Part B plan would result in significant reductions in their rates of
future benefit accruals

55. By implementing the amended rehire rule without notice of the resulting
significant reduction in the nature rate of accruals, Cigna violated ERISA Section 204(h),

29 U.s.c. § 1054(h).

Claim Five: Cigna Has Reduced Previously-Earned Benefits in Violation of ERISA
Section 204(g)’s Anti-Cutback Rule

56. Cigna has violated ERISA Section 204(g)’s anti-cutback rule in at least
three ways First, it offers cash balance options without notifying participants of their

rights to “rninimum benefits” earned before 1998 with greater value. Second, Cigna has

 

categorically denied the payment of certain protected benefits, including the free 30%
survivor’s benefit. For example, Ms. Broderick was denied the free 30% survivor’s
benefit, which should add over $70 per month to her present retirement income. Liir;<_l,
Cigna has offered participants who separate from service before age 55 lump sum
distributions that are not based on the value of the “minirnum benefits” that ERISA
requires to be protected-even if that value is hi gher.

57. Cigna has also violated the disclosure rules that apply when benefit options

have unequal values Under 26 C.F.R. 1.401(a)-20, Q&A 36, which implements ERISA

15

 

Case 3'01-cv-02361-.]BA Document 156 Filed 06/21/05 Page 16 of 17

Section 205(g), 29 U.S.C. §1055(g), Cigna is required to offer “suf`ficient” information
“to explain the relative value of the optional forms of benefit available under the plan
(e.g., the extent to which optional forms are subsidized relative to the normal form of
benefit...).” Treasury regulations provide that “no consent is valid” unless this explanation
has been provided 26 C.F.R. 1.417(6)~1(b)(2)(i). Neither Cigna’s SPD nor its benefit
election materials disclose that the lump sum payment of a participant’s cash balance

account can be less valuable than the annuity benefits that participants earned before

1998,
Prayer for Relief

WHEREAS, the Plaintiff prays that this Court:

A. Declare that Janice Amara’s and Gisela Broderick’s benefit accruals under
the “Part B” formula of the Cigna Pension Plan must not be reduced because of age or in
comparison to the prior formula without advance notice and declare that their previously-
earned benefits must be protected in conformity with ERISA and tl4'1at their future benefit
accruals must not be conditional on giving up part of those previously-earned benefits

B. Enjoin the application of Cigna’s reductions in the rate of benefit accruals,
its reductions in previously-earned benefits and its conditions on receipt of future benefit
accruals because of the ERISA minimum standard and disclosure violations

C. Order appropriate equitable and remedial relief to ensure that this relief is

implemented on a class-wide basis

16

 

 

Case 3'01-cv-02361-.]BA Document 156 .- Filed 06/21/05 Page 17 of 17

D. Order such other equitable and remedial relief as the Court deems

appropriate and award attorneys’ fees and expenses

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